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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF FLORIDA
                                 GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                                CASE NO. 1:03-cr-00041-MP-AK

LINSOME A. BOYD,

      Defendant.
___________________________/

                              REPORT AND RECOMMENDATION

          This matter is before the Court on Doc. 563, Motion to Vacate, by Linsome A. Boyd.
The Government has filed its response, Doc. 571, and the Court denied Defendant’s request to
file an out-of-time reply. Docs. 624 & 630. This cause is therefore in a posture for decision.
Having carefully considered the matter, the Court recommends that the motion to vacate be
denied.
          Defendant pled guilty to conspiracy to distribute and to possess with intent to distribute
more than 50 grams of “a mixture and substance containing cocaine base, commonly known as
‘crack cocaine.’” Doc. 414. He was sentenced to 120 months imprisonment.
          In his motion to vacate, Defendant claims that crack cocaine “must be treated as ordinary
cocaine because it has never been separately scheduled to be its own controlled substance
offense.” Doc. 563. In his view, Booker “makes the drug identity an element,” which
presumably must be proved to a jury beyond a reasonable doubt.
          The law is well established that a “guilty plea means something. It is not an invitation to
a continuing litigation dialogue between a criminal defendant and the court.” Murray v. United
States, 145 F.3d 1249, 1254 (11th Cir. 1998). In fact,
          the representations of the defendant, his lawyer, and the prosecutor at...a [plea]
          hearing, as well as any findings made by the judge accepting the plea, constitute a
          formidable barrier in any subsequent collateral proceedings. Solemn declarations
          in open court carry a strong presumption of verity. The subsequent presentation of
          conclusory allegations unsupported by specifics is subject to summary dismissal,
          as are contentions that in the face of the record are wholly incredible.
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Blackledge v. Allison, 431 U.S. 63, 73-74 (1977).
        Defendant pled guilty to a crime involving “crack cocaine,” and he agreed in the
statement of facts that the Government would be able to prove that his drug activities involved
“cocaine base.” As used in the statutes and the Guidelines, cocaine in its base form is “crack
cocaine.” See United States v. Pope, 461 F.3d 1331, 1333 (11th Cir. 2006); United States v.
Vasquez, 121 F.3d 622, 623 (11th Cir. 1997); United States v. Sloan, 97 F.3d 1378 (11th Cir.
1996); U.S. Sentencing Guidelines Manual §2D1.1(c). While the identity of the drugs at issue
might, in a vacuum, have provided Defendant with a defense to the charges, he waived the right
to assert such a defense when he voluntarily and knowingly pled guilty. Booker does not alter
that conclusion.
        Defendant presses for vacation of his sentence based on an argument that there exists an
improper disparity between sentences for crack cocaine and powder cocaine. This R&R does
not address that sentencing issue, except to note that the Sentencing Commission has agreed in
principle with that generalization. Defendant presently has a § 3582 motion pending before the
District Judge related to the retroactive amendments to the Guidelines regarding crack cocaine
sentences, and it is in that proceeding that Defendant should more properly press for a reduction
in sentence, as the noted disparity by the Sentencing Commission does not equate into wholesale
vacation of a crack cocaine sentence.
        In light of the foregoing, it is respectfully RECOMMENDED that Defendant’s motion to

vacate, Doc. 563, be DENIED.

        IN CHAMBERS at Gainesville, Florida, this 20th day of March, 2008.


                                             s/ A. KORNBLUM
                                             ALLAN KORNBLUM
                                             UNITED STATES MAGISTRATE JUDGE


                                  NOTICE TO THE PARTIES

        A party may file specific, written objections to the proposed findings and recommendations

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within 15 days after being served with a copy of this report and recommendation. A party may
respond to another party’s objections within 10 days after being served with a copy thereof. Failure
to file specific objections limits the scope of review of proposed factual findings and recommendations.




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